=

Case 8:18-cr-00492-JDW-JSS Document 57 Filed 06/07/19 Page 1 of 6 PageID 241

« Case 8:18-cr-00452-JDW-JSS Document 43 Filed 03/25/19 Page 1 of 6 PagelD 131° '°°

Breanna Knights
8:18-cr-492-T-27JSS

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION oo
UNITED STATES OF AMERICA Case Number: 8:18-cr-492-T-27J8S.. &
v. USM Number: 71360-01822 Ss ‘y
BREANNA KNIGHTS Jeffrey Geldert Brown, CJA oe T

a
.
Ve.

 

-

aired

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts Two and Seven of the Indictment. The defendant is adjudicated guilty of these
offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Numbers
21 U.S.C. §§ 841(a)}(1) and Distribution and possession with intent to December 7, 2017 Two
&41(b)(1)(C) distribute heroin
21 U.S.C. §§ 841(a)(1) and Distribution and possession with intent to May 10, 2018 Seven
841(b)(1)(C) distribute cocaine base

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change
in the defendant's economic circumstances.

Date of Imposition of Judgment:

March 25, 2019

   
 
 

S D. WHITTEMORE
ED STATES DISTRICT JUDGE

March & 5 * 2019

| CERTIFY THE FOREGOING TO BE A TRUE
AND CORRECT COPY OF THE ORIGINAL

CLERK OF COURT
“Min, Yeni) UNITED STATES DISTRICT COURT
449 1Sig 9, MIDDLE DISTRYST OF ORIDA
a ‘8 Hy Gi BY: SoA
Le aH ey D CLERK
SAID 79 0
Case 8:18-cr-00492-JDW-JSS Document 57 Filed 06/07/19 Page 2 of 6 PagelD 442 arg

. Case 8:18-cr-00492-JDW-JSS Document 43 Filed 03/25/19 Page 2 of 6 PagelD 132

Breanna Knights
8:18-cr-492-T-27JSS

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of THIRTY-SIX (36) MONTHS. This term consists of a 36-month term as to Count Two and a 36-month term
as to Count Seven, all such terms to run concurrently.

The Court makes the following recommendations to the Bureau of Prisons:

® Designation at Coleman Federal Correctional institution or the closest facility for women to Kingsland, Georgia;
and

e If eligible, the defendant shall be allowed to participate in the S00-hour Residential Drug Abuse Program
(RDAP). The Court adopts as its factual findings in support of this recommendation, paragraphs 63 through 66
of the Presentence Investigation Report. The Court also notes that in October 2018, the defendant was also
diagnosed with opiate use disorder and substance abuse treatment was recommended.

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

Defendant delivered on Oat aoly to FCT Mong
at (0. (laha.ceoo i f lopido _ with a certified copy of this judgment.

or Aisin Hunter, UD
Case 8:18-cr-00492-JDW-JSS Document 57 Filed 06/07/19 Page 3 of 6 PagelD 243

Case 8:18-cr-00492-JDW-JSS Document 43 Filed 03/25/19 Page 3of6PagelD133

* Breanna Knights
8:18-cr-492-T-27JSS

SUPERVISED RELEASE

Upon release from imprisonment, the defendant will be on supervised release for a term of THREE (3) YEARS.
This term consists of a 3-year term as to Count Two and a 3-year term as to Count Seven, all such terms to run
concurrently.

MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15

days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

4. You must cooperate in the collection of DNA as directed by the Probation Officer.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions on the attached page.
Case 8:18-cr-00492-JDW-JSS Document 57 Filed 06/07/19 Page 4 of 6 PagelD 244

Case 8:18-cr-00492-JDW-JSS Document 43 Filed 03/25/19 Page 4 of 6 PagelD 34
- Breanna Knights
8:18-cr-492-T-27JSS

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by Probation Officers to keep informed, report to the court about, and bring about improvements in your
conduct and condition.

1.

11.
12.

13.

You must report to the Probation Office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the Probation Officer instructs you to report to a different Probation
Office or within a different time frame. After initially reporting to the Probation Office, the defendant will receive
instructions from the court or the Probation Officer about how and when the defendant must report to the Probation
Officer, and the defendant must report to the Probation Officer as instructed.

After initially reporting to the Probation Office, you will receive instructions from the court or the Probation Officer
about how and when you must report to the Probation Officer, and you must report to the Probation Officer as
instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the Probation Officer.

You must answer truthfully the questions asked by your Probation Officer

You must live at a place approved by the Probation Officer. if you plan to change where you live or anything about
your living arrangements (such as the people you live with), you must notify the Probation Officer at least 10 days
before the change. If notifying the Probation Officer in advance is not possible due to unanticipated circumstances,
you must notify the Probation Officer within 72 hours of becoming aware of a change or expected change.

You must allow the Probation Officer to visit you at any time at your home or elsewhere, and you must permit the
Probation Officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the Probation Officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the Probation Officer excuses you from doing so. if you plan to change where you work or anything about
your work (such as your position or your job responsibilities), you must notify the Probation Officer at least 10 days
before the change. If notifying the Probation Officer atleast 10 days in advance is not possible due to
unanticipated circumstances, you must notify the Probation Officer within 72 hours of becoming aware of a change
or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the Probation Officer.

Ifyou are arrested or questioned by a law enforcement officer, you must notify the Probation Officer within 72 hours.
You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
(Le., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchakus or tasers).

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

If the Probation Officer determines that you pose a risk to another person (including an organization), the Probation
Officer may require you to notify the person about the risk and you must comply with that Instruction. The Probation
Officer may contact the person and confirm that you have Notified the person about the risk.

You must follow the instructions of the Probation Officer related to the conditions of supervision.

U.S. Probation Office Use Only

AU.S. Probation Officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

 
Case 8:18-cr-00492-JDW-JSS Document 57 Filed 06/07/19 Page 5 of 6 PagelD 245

; ‘ . Page 5 ot 6
Case 8:18-cr-00492-JDW-JSS Document 43 Filed 03/25/19 Page 5 of 6 PagelD 135 °

- Breanna Knights
B:18-cr-492-T-27JSS

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow the Probation
Officer's instructions regarding the Implementation of this court directive. Further, the defendant shall contribute to
the costs of these services not to exceed an amount determined reasonable by the Probation Office's Sliding Scale
for Substance Abuse Treatment Services. During and upon compietion of this program, the defendant is directed
to submit to random drug testing.

2. The defendant shall participate in a menta! health treatment program (outpatient and/or inpatient) and follow the
Probation Officers instructions regarding the implementation of this court directive. Further, the defendant shall
contribute to the costs of these services not to exceed an amount determined reasonable by the Probation Office's
Sliding Scale for Mental Health Treatment Services.

3. The defendant shall cooperate in the collection of DNA, as directed by the Probation Officer.

4. The mandatory drug testing requirements of the Violent Crime Control Act are imposed. The Court orders the
defendant to submit to random drug testing not to exceed 104 tests per year.
Case 8:18-cr-00492-JDW-JSS Document 57 Filed 06/07/19 Page 6 of 6 PagelID 246

Case 8:18-¢1-00492-JDW-JSS Document 43 Filed 03/25/19 Page 6 of 6 PagelD 156"
* Breanna Knights

8:18-cr-492-T-27JSS
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

 

 

 

Assessment JVTA Assessment ° Fine Restitution
TOTALS $200.00 due immediately NIA WAIVED NIA
SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
Special Assessment shall be paid in full and is due immediately.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program,
are made to the clerk of the court, unless otherwise directed by the court, the Probation Officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine

principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of
prosecution and court costs.

“Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after Seplombar 13, 1994 but before April 23, 1896.

 

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. ;
” Findings for the total amount of losses ara required under Chapters 108A, 110, 440A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
